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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                              Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                      SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                              Defendant.


              PLAINTIFFS’ MOTION FOR SCHEDULING CONFERENCE

       Plaintiffs—Dr. Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven

Harris, Black Voters Matter Capacity Building Institute, and Louisiana State Conference of the

NAACP—respectfully move the Court for a scheduling conference.

       On February 8, 2024, the Court permanently enjoined elections under S.B. 1 and H.B. 14

for violating Section 2 of the Voting Rights Act. ECF No. 233. The Court ordered that the state

shall have “a reasonable period of time” to “address the Court’s findings and implement State

House and Senate election maps that that comply with § 2 of the Voting Rights Act,” and specified

that the Court would determine the “period of time” that the State would be afforded “following

submittals by the parties.” ECF No. 233 at 91. Plaintiffs are filing two motions related to

determining the appropriate period of time for the state to draw new maps: a motion for special

elections on the remedial state legislative maps in November 2024, which will be filed tomorrow
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(February 13, 2024), and a motion to grant Plaintiffs’ proposed scheduling order for the remedial

phase of this case, which was filed today.

       Both motions emphasize that it is vital to Plaintiffs’ fundamental right to vote that this case

move forward to the remedial stage as quickly as possible, and Plaintiffs believe it would be

prudent for the parties and the Court to discuss the appropriate schedule for the remedial phase of

this case at the Court’s earliest convenience.

       Plaintiffs therefore respectfully request that the Court set a status conference at its earliest

convenience.



Date: February 12, 2024                            Respectfully submitted,


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